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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

CORJALON EVANS                                                                 PLAINTIFF

v.                            No: 4:20-cv-01338 BRW-PSH

COREY HICKMAN                                                               DEFENDANT

                                       JUDGMENT

       Consistent with the order filed today, judgment is entered dismissing this case without

prejudice.

              IT IS SO ORDERED this 28th day of September, 2021.

                                                  Billy Roy Wilson ______________
                                                  UNITED STATES DISTRICT JUDGE
